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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

Chicago Police Officers SHANNON                       )
SPALDING and DANIEL ECHEVERRIA,                       )
                                                      )
         Plaintiffs,                                  )
                                                      )
v.                                                    )       Case No. 12-cv-8777
                                                      )
CITY OF CHICAGO, Chicago Police Chief                 )       Judge Gary Feinerman
JUAN RIVERA, Chicago Police Chief                     )
JAMES O’GRADY, Chicago Police Chief                   )       Magistrate Judge Sheila M. Finnegan
NICHOLAS ROTI, Chicago Police Lt.                     )
Sergeant MAURICE BARNES, Chicago Police               )
Lt. ROBERT CESARIO, Chicago Police                    )
Commander JOSEPH SALEMME, Chicago                     )
Police Sergeant THOMAS MILLS,                         )
                                                      )
        Defendants.                                   )

          MOTION TO BAR UNDISCLOSED WITNESSES FROM TESTIFYING

        Plaintiffs, by their attorneys, move this Court to bar witnesses listed in Defendants’

Proposed Pretrial Order that were not previously disclosed in discovery or properly listed in their

proposed Pretrial Order. In support of this motion, Plaintiffs state as follows:

        1. The final pretrial order was due to be filed with this Court on May 13, 2016.

            Plaintiffs submitted their own version of the Pretrial Order to the Court at 3:28 p.m.

            on May 13 after attempting unsuccessfully to obtain Defendants’ cooperation in filing

            a joint pretrial order. At 11:51 p.m. on May 13, 2016, Defendants filed their own

            version of a Pretrial Order with the Court.

        2. Discovery has closed and this matter is set for trial on May 31, 2016.

        3. In their Proposed Pretrial Order, Defendants listed six proposed witnesses who were

            not disclosed in either Defendants’ Rule 26a disclosures or in Defendants’ Answers to

            Plaintiffs’ Interrogatories. These individuals are: Paul Kusinski, Ernie Brown,
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            Aisha Sultana, Maureen Salas, a “Pension Board Representative” and Tom Mason.

       4. In addition, Defendants have not provided the addresses of any non-party witnesses,

            including Patrick Smith, former FBI agent, in violation of this Court’s Standing

            Pretrial Order.

       5.   The above listed individuals, having not been disclosed by Defendants until just over

            two weeks before trial and substantially after the close of discovery in this matter,

            must be barred from testifying in any manner at the trial of this cause. In addition,

            because Defendants have failed to provide the addresses of non-party witnesses,

            specifically including Patrick Smith, these witnesses should also be barred from

            testifying in this matter.

       WHEREFORE, Plaintiffs respectfully request that this Court bar the following witnesses

from testifying in this matter: Patrick Smith, Paul Kusinski, Ernie Brown, Aisha Sultana,

Maureen Salas, a Pension Board Representative and Tom Mason.

                                         Respectfully Submitted,

                                         /s/ Jeffrey L. Taren

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